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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 Mikayla Cheyenne Savage,

                       Plaintiff,

 v.

 Harris County, Texas, et al.,                         Case No. 4:24-cv-00666

                        Defendants.


                      NOTICE OF NON-RESPONSE TO PLAINTIFF’S
                      MOTION TO MODIFY SCHEDULING ORDER

        On December 19, 2024, Plaintiff Mikayla Savage (“Plaintiff”) filed her Motion (ECF No.

75) to modify this Court’s Scheduling Order (ECF No. 41). By Order dated December 20, 2024,

this Court gave any party opposed to Plaintiff’s Motion until December 30, 2024 to file a Response.

Plaintiff files this Notice to advise the Court that no party has filed a Response to Plaintiff’s

Motion. Thus, pursuant to Local Rule LR7.4: “Failure to respond to a motion will be taken as a

representation of no opposition.” Given the lack of opposition, Plaintiff’s Motion to Modify the

Scheduling Order should be granted.

                                      [signature page follows]
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Dated: February 19, 2025                 Respectfully submitted,
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                                         Attorneys for Plaintiff Mikayla Cheyenne Savage
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                                  CERTIFICATE OF SERVICE

          The undersigned certifies that a true and correct copy of the foregoing document has been

served electronically via the Court’s CM/ECF system on February 19, 2025 on all counsel of

record.

                                               /s/ Karley Buckley
                                               Karley Buckley
